       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 1 of 15




                                           January 13, 2023

VIA ECF and FAX

The Honorable P. Kevin Castel
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, New York 10007

       Re:    In re Google Digital Advertising, 1:21-md-03010 (PKC);
              Plaintiffs’ Proposed ESI Protocol

Dear Judge Castel:

       In accordance with the Court’s Pre-Trial Order No. 5 (Doc. 394), the Plaintiffs’
Coordinating Committee submits Plaintiffs’ proposed Protocol Regarding Electronically
Stored Information. 1 Although the parties negotiated most provisions, they did not reach
agreement on all provisions. Plaintiffs accordingly set out their position on those portions of
the ESI protocol that remain disputed. We note that the next conference in this matter is
scheduled for February 15, 2023, at 2:00 p.m.

BACKGROUND – The Parties’ Negotiations.

        Plaintiffs—the State AGs, Publisher Plaintiffs, and Class Advertisers—have worked
diligently to coordinate and to negotiate a mutually agreeable ESI Protocol with Google.
Despite many months of negotiations, dating to even before the MDL, and all Plaintiffs’
collective efforts since the MDL was created, Google ultimately refused even to provide
suggested revisions to the draft ESI protocols that Plaintiffs sent in April 2022 and in June
2022. Instead, Google demanded in July 2022 that Plaintiffs scrap all prior efforts and begin
again, using an ESI Order from a different case involving Meta.

      Seeking to avoid unnecessary disputes, Plaintiffs started over again with the new form
from Google and Meta. Plaintiffs provided comments in August 2022, and eventually received


1
 Plaintiffs’ Exhibit A is the clean version of Plaintiffs’ proposed ESI Order. Exhibit B shows
Google’s proposals in redline on top of Plaintiffs’ proposed ESI Order.
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 2 of 15




a revised mark-up back from Google in October 2022, after which Plaintiffs provided
collective comments back on November 4, 2022. Since then the parties have engaged in several
meet-and-confers via video conference, and have exchanged several drafts. However, as
described further below, Google has taken inconsistent positions and even backtracked on
provisions to which it previously agreed. More concerning, Google also has insisted on
language that would allow it to destroy—never mind produce—large swaths of likely relevant
and potentially critical ESI.

       Google is not entitled to a protective order allowing it to destroy relevant information,
produce what data it does produce in a form unusable by Plaintiffs, and avoid any obligation
to produce privilege logs on a rolling basis. For the reasons set forth below, Plaintiffs ask that
the Court enter their proposed ESI protocol, instead of Google’s.

GENERAL PROVISIONS - SECTION I

Production Specifications (paragraph I.2).

        Google seeks to exempt from this ESI Order’s production specifications any
electronically stored information produced during any “pre-complaint investigation of the
subject matter of this litigation” to any enforcement agency or other person worldwide. With
respect to Google’s documents, this would likely make the ESI Order a nullity. Beginning as
far back as 2007, Google’s conduct at issue in these cases has been or is currently being
investigated by numerous enforcement agencies including, at least: 1) the Federal Trade
Commission; 2) the U.S. Department of Justice; 3) the Attorneys General of numerous States
not parties to these actions; 4) the United Kingdom’s Competition and Markets Authority;
5) the French Competition Authority; 6) the Directorate-General of Competition for the
European Commission; and 7) Australia’s Competition and Consumer Commission. It is thus
likely that Google has already produced the vast majority of documents and data sought in
discovery in these actions to one or more agencies or individuals during a “pre-complaint
investigation.” Under Google’s proposal, none of those documents would need to comply with
the provisions of the ESI Order in this case.

        Plaintiffs should not be forced, for likely the vast majority of responsive materials, to
blindly accept ESI protocols and policies negotiated by non-parties to this controversy.
Plaintiffs have no way to know the circumstances of Google’s prior productions to non-party
enforcement agencies and individuals. Google’s previously produced materials may be
incompatible with Plaintiffs’ review tools, or may have been produced without key metadata
needed to evaluate or authenticate those materials. Google’s offer to meet and confer on this
issue is cold comfort—Google’s proposal would by default exempt an enormous number of
relevant materials from the ESI Order in these actions and Google would have no incentive to
budge from that default position. Google’s proposed Paragraph I.2 should be rejected.

      Plaintiffs’ proposed paragraph I.2 is reasonable. Plaintiffs agree that Google need not
reformat any materials previously produced the Plaintiff States in this proceeding during their

                                                2
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 3 of 15




pre-complaint investigation, to the extent those documents are responsive to a Rule 34
document request. But plaintiffs should be permitted to make reasonable requests for readable
or useable versions of those documents. Plaintiffs’ review of the documents produced to the
Plaintiff States in their investigation reveals that many contain unreadable content. For
instance, certain documents contain comments from Google employees that appear in the
documents’ margins. Often, those comments are truncated in the image that Google produced
to Plaintiffs. The content of those comments may be highly relevant to these cases, and
Plaintiffs should be permitted to make reasonable requests that Google provide versions of
such documents that can be read in their entirety, including all comments. To the extent other
similar issues arise concerning the readability of materials previously produced to the Plaintiff
States, Plaintiffs also should be permitted to make reasonable requests for readable and useable
versions of those documents.

       Plaintiffs’ proposed paragraph I.2 preserves the utility of this ESI Order that the parties
have been negotiating for months. It also reflects a reasonable compromise: Google need not
reformat documents it has previously produced to the Plaintiff States, so long as Plaintiffs can
make reasonable requests for readable versions of those documents. Thus, the Court should
adopt Plaintiffs’ proposal which makes all documents produced in this MDL subject to the
protocols and procedures governing production of ESI here.

PRESERVATION – SECTION II

       The ESI Order in this action must require all parties to preserve relevant evidence.
Google’s destruction of relevant evidence in other actions has been widely reported—
including since the start of 2023. See, e.g., Google Can’t ‘Get Away’ With Deleting Chats,
Judge Says, Law360 (Jan. 12, 2023) (regarding In re Google Play Store Antitrust Litigation,
No.      3:21-md-02981-JD       (N.D.     Cal.),   Dkt.     No.     408),     available     at
<https://www.law360.com/california/articles/1565188/google-can-t-get-away-with-deleting-
chats-judge-says>. To avoid similar problems in this case, Plaintiffs respectfully submit that
the Court should adopt their proposed ESI Order rather than Google’s.

Preservation of Certain Categories of Documents (paragraphs II.3(h), (j), and (l)).

       Google seeks to destroy, at the outset of discovery, overbroad categories of data and
information that may include relevant information. To move the case forward, Plaintiffs have
agreed to not file any motions currently against Google, provided that Google’ representations
are memorialized, and it is understood that Plaintiffs objected and reserve their rights to later
challenge any inappropriate destruction by Google. Plaintiffs note below where the Court’s
immediate intervention is needed now, and where the debate may be resumed at a later time.

       The data and documents that Google seeks permission to destroy in subsections (h), (j),
and (l) are relevant to Google products and services at issue in the case, such as Dynamic
Allocation and Last Look. The interplay between Google’s role as the moderator of online ad
auctions via ad servers on the one hand, and as a participant in the same ad auctions on the

                                                3
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 4 of 15




other, will be memorialized in, for instance, “internet histor[ies]”, “server [and] network logs”,
and “log files”, especially if Google engages in any self-preferencing within the fractions of a
millisecond that winners and losers of ad auctions are decided. Google should be ordered to
preserve these documents, not allowed to destroy them.

Preservation of Ad Logs (paragraph II.3(k)).

        The dispute as to subsection (i) involves Google’s refusal to agree to preserve ad log
files. Ad log files contain detailed information about how an ad server selected which ad to
serve to a particular reader in a particular ad space. For instance, they describe whether an ad
was sold in a programmatic auction or served based on a deal negotiated directly between
advertiser and publisher. When an ad is sold programmatically, ad log files preserve key details
about the auction, including who won, who bid, and how much they bid. In a case about
Google’s abuse of its monopoly position to manipulate advertising auctions, ad log files will
be critical to Plaintiffs’ proof. Indeed, this Court already determined that Google’s treatment
of ad log files plausibly constitutes anticompetitive conduct. In re Google Digital Advertising
Antitrust Litig., 2022 WL 4226932 *34-35 (S.D.N.Y. Sept. 13, 2022) (holding the State
Plaintiffs “plausibly allege[] that . . . Google’s redaction of auction data” was anticompetitive).

       Throughout negotiations, Google has refused to agree to preserve vast quantities of that
highly relevant material. Google’s initial proposal sought permission to destroy ad log files for
any advertisements viewed outside of the United States. On November 10, 2022, counsel for
Daily Mail told Google that Daily Mail’s complaint seeks to recover damages to both its U.S.
and non-U.S. properties caused by Google’s anticompetitive conduct and that the Publisher
Class’s complaint alleges product markets encompassing countries outside the United States.
Ads viewed in foreign countries are thus relevant to at least those complaints and Google’s
pre-motion to dismiss letter nowhere indicates that it seeks to dismiss allegations concerning
non-U.S. advertisements. (Doc. 367.) On January 12, 2023, Google eventually agreed to a
compromise proposed by Daily Mail: Google will preserve ad log files for ads viewed in the
United States, U.K., Canada, Australia, Ireland and New Zealand.

        The only dispute remaining concerns Google’s potential destruction of ad log files for
ads viewed in the remainder of the European Union. Plaintiffs have agreed not to challenge
Google’s failure to preserve these ad log files now, so long as the ESI protocol includes a
footnote provision stating: “Google takes the position that EU ad log files are not relevant or
necessary, and that it would be unduly burdensome for Google to preserve EU ad log files.
Plaintiffs disagree and reserve all rights. Nevertheless, given Google’s position, Google is
precluded from taking any position whatsoever based on EU ad log files that it does not
preserve or produce in this litigation.” This provision is necessary to protect Plaintiffs from
Google destroying these EU ad log files and then later making arguments about these files, or
in any way criticizing Plaintiffs or their experts for not using these files. Such a result would
obviously be unfair and prejudice Plaintiffs, and Google cannot justify its refusal to include
such a provision.


                                                4
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 5 of 15




        Finally, Plaintiffs’ proposal does not contain Google’s proposed unnecessary footnote
to this provision. Paragraph II.5, to which all parties agree, already states that preservation of
materials is not a concession that “such material is discoverable.” That necessarily means that
Google’s agreement to preserve foreign ad log files is not a concession that those files are
relevant. See Fed. R. Civ. P. 26(b)(1) (only “relevant” material is discoverable). Nor is it
necessary to state that the parties will meet and confer to identify ad log files that are
“proportionate” to the needs of this case—the parties already agree that they will meet and
confer about all Rule 34 requests. See Pls.’ Proposal ¶ III.1; Google Proposal ¶ III.1.

Encryption Keys (paragraph II.3).

        Google should not be allowed to “destroy or otherwise fail to preserve encryption keys,
mapping tables, identifiers, or other data sources that are necessary to make relevant ESI and
Documents useable for the purposes of this Action” and so Plaintiffs’ Paragraph II.4 should be
included. Google has provided no basis to allow it to destroy these relevant encryption keys,
mapping tables, identifiers, or other data sources that are necessary to make relevant ESI, data
and documents useable for the purposes of this Action. In fact, Google does not even dispute
that this preservation may be necessary to allow other data and documents to be used.

       With respects logs of calls made from cellular phones (paragraph II.2(d)), Plaintiffs
have not accepted the change and have included proposed compromise language. Call logs,
like chats and emails, may include evidence of relevant communications and should not be
destroyed.

COLLECTION AND REVIEW – SECTION III

De-duplication (paragraph III.5.

        The parties need to sort out technical aspects of de-duplication for the efficient
Plaintiffs asked that Google confirm the method of deduplication that it will use prior to its
migration to Source Hash. Google has informed Plaintiffs that it proposes to use the MD5 Hash
value in combination with the Axcelerate calculated “RM_duplicate” hash value. Google
proposes. We await Google’s explanation of why it wants to use the RM_Duplicate hash value
and how that differs from or supports the industry standard MD5 hash value. Only with that
explanataion can we evaluate why simply using MD5 hash value for deduplication, which we
believe is industry standard, would not be sufficient.

       Plaintiffs have not yet heard from Google as respects the technical aspects of de-
duplication ad have thus reverted to their proposed language.

Email threading (paragraph III.6).

      Plaintiffs and Google previously agreed on the language included in Plaintiffs’
proposed ESI Protocol concerning email threading. When Meta became involved in

                                                5
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 6 of 15




negotiations, it added provisions that would allow email threading, meaning that a party may
produce only “Last in Time” emails, and “need not produce earlier, less inclusive email
messages or ‘thread members.’”

        Meta’s eleventh-hour proposed change to Paragraph III.6 should be rejected. Nothing
in Plaintiffs’ proposal would prohibit any party from utilizing email threading to review its
own documents prior to production—which can save time and resources. However, producing
only “last in thread” emails deprives the recipient of necessary metadata that otherwise would
allow the receiving party to search for emails sent to and from certain people during certain
timeframes, because metadata for the earlier-in-time, included emails, is not produced with the
latest-in-time email on the top of the strong. There is no additional burden and no prejudice to
any party from reverting to the agreement between Google and Plaintiffs.

        Moreover, the Court should not reward Meta’s efforts to curb the data to which
Plaintiffs will be entitled under the ESI Order while Meta simultaneously insists that it should
not be subject to discovery at this time. (See, e.g., Dkt. 429 (Letter from Meta); Dkt. 432 (Court
noted that “no pleading against Meta has ever been before the Court for a ruling”).) Meta’s
new proposed email threading language—which Google is now proposing to the Court despite
Google’s prior agreement with Plaintiffs not to produce threaded emails—risks the loss of
important metadata and will make use of the documents unwieldy and inefficient. In order to
help streamline depositions, expert and witness testimony, Plaintiffs request that the Court
enter their proposed ESI Protocol.

PRODUCTION FORMAT – SECTION IV

       Provided Plaintiffs’ concerns regarding paragraph I.2 (above) are adequately
addressed, Plaintiffs would be willing to accept Google’s added language to paragraph IV.1.

PRIVILEGE LOGS – SECTION V

Privilege Log Timelines and Method of Production (paragraph V.1).

        In accordance with Local Rule 26.2 and to ensure that discovery proceeds efficiently,
Plaintiffs respectfully submit that (1) documents and accompanying privilege logs should be
produced on a rolling basis; and (2) privilege logs should be produced 30 days following each
production. The same rule relieves the parties of their obligation to submit privilege logs
simultaneously with the production of documents and at the same time promotes efficiency by
enabling timely privilege challenges that will not delay the litigation or impact depositions and
expert reports. Yet Google refuses to agree to produce privilege logs on a rolling basis.

       Local Rule 26.2 expressly requires that privilege logs be provided “at the time of the
response to such discovery or disclosure, unless otherwise ordered by the Court.” Local Rule
26.2; see also Fed. R. Civ. P. 26. The unjustifiable failure to timely provide a privilege log
operates as a waiver of any applicable privilege. See FG Hemisphere Assocs., L.L.C. v.

                                                6
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 7 of 15




Republique Du Congo, No. 01 Civ. 8700 (SAS)(HBP), 2005 WL 545218, at *6 (S.D.N.Y.
Mar. 8, 2005) (collecting cases); Brown v. Barnes & Noble, Inc., 474 F. Supp. 3d 637, 646–47
(S.D.N.Y. 2019), aff'd, No. 116CV07333MKVKHP, 2020 WL 5037573 (S.D.N.Y. Aug. 26,
2020). Respectfully, the local rule’s requirement that privilege logs be provided “at the time
of the response to such discovery or disclosure” presupposes that privilege logs are to be
produced on a rolling basis, rather than “at the close of the four-month substantial completion
deadline” as Google suggests.

       At the December 2022 meet and confer, the parties discussed trying to agree to a
mutually acceptable time limit and method for producing privilege logs. Plaintiffs made clear
their position that privilege logs are to be produced on a rolling basis. Google’s stated
objection to rolling privilege logs was that it would incentivize Google to produce documents
only at the end of the four-month period set forth by this Court. Google’s suggestion that it
will withhold responsive documents until just before the substantial completion deadline,
apparently so that it can delay complying with its privilege log obligations, would condone a
disfavored practice. As Magistrate Judge Parker aptly stated:

       This Court does not condone waiting on the production of a privilege log until the
       end of a rolling ESI production. Producing parties should provide a log with each
       production tranche and/or on a rolling basis. This allows the receiving party to
       timely raise issues about withheld documents. It also allows for the review of
       smaller subsets of documents and smaller in camera reviews (if necessary),
       allowing for early clarification of privilege issues. Such a process is fairer to the
       requesting party, more efficient, and less costly. Additionally, Rule 26
       contemplates the supplementation of privilege logs throughout discovery.

Brown, 474 F. Supp. 3d at 647 (citation omitted).

        We anticipate that the parties will work in good faith to provide documents over the
course of the four-month substantial completion deadline, and Plaintiffs reserve the right to
make any and all arguments concerning impact on the case of a single or multiple eleventh-
hour productions. Plaintiffs’ position is fair, reasonable and comports with the Local Rules
whereas Google’s proposal would impose needless delay and prevent prompt and efficient
resolution of privilege disputes (which is particularly concerning given the overbreadth of
Google’s privilege claims already in this case). Delay in resolving privilege issues will, in turn,
lead to delay as respects, inter alia, depositions and expert reports, which will be impacted by
any privilege challenges. Plaintiffs’ proposal presents the best compromise.

Identification of Specific Attorneys (paragraph V.3(h)).

       Plaintiffs submit that privilege logs must include both the name of the attorney(s) and
the legal organization who provided the legal advice at issue. This case involves matters as
respects which attorneys have provided substantial business advice and this matter has already
seen belated claims of privilege asserted and then withdrawn by Google when challenged by

                                                7
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 8 of 15




Plaintiffs. Clarity on the basis for Google’s privilege assertions is thus paramount. Defendant
Google’s inability to identify both the name of the attorney providing the legal advice and the
organization that attorney works for undercuts a claim of privilege in the first instance.
Moreover, Google’s stated position that it would wait until the end of the four-month
substantial completion period before producing documents (and thus privilege logs) demands
precision in Google’s privilege logs so that privilege challenges can be timely and efficiently
made.

Privilege Log Exemptions (paragraph V.8(g)).

       The nature of this proceeding as a Multidistrict Litigation necessitates that
communications in furtherance of Plaintiffs’ common interest privilege be the exempted from
logging. As such, Plaintiffs request that “Documents sent solely between or among counsel for
any Plaintiff (including such counsel’s agent(s))” be excluded from any privilege log. While
some reciprocal language may be appropriate as respects Defendants, any documents that
could substantiate claims of collusion between Defendants, as asserted in some of the matters
before the Court including the Network Bidding Agreement between Google and Meta, should
not be exempted from logging.

       The Court should require that privilege logs include an entry for each email withheld
as privileged. See United States v. Davita, Inc., 301 F.R.D. 676, 685 (N.D. Ga. 2014) (“The
emerging majority view appears to be that individual emails within a string should be
separately logged in some fashion.”), recon. granted on other grounds, 2014 WL 11531065
(N.D. Ga. May 21, 2014); BreathableBaby, LLC v. Crown Crafts, Inc., 2013 WL 3350594, at
*8 (D. Minn. May 31, 2013) (“courts are moving in the direction of requiring litigants to log
separately each e-mail in a string.”), rpt. and rec. adopted, 2013 WL 3349999 (D. Minn. July
1, 2013). This is warranted because every email in a thread is “a separate communication, for
which a privilege may or may not be applicable.” Baxter Healthcare Corp. v. Fresenius Med.
Care Holdings, Inc., 2008 WL 4547190, at *1 (N.D. Cal. Oct. 10, 2008). See also Davita, Inc.,
301 F.R.D. at 685 (“A string of emails, after all, is not just a single communication. It reflects
a series of different communications that, because of the way in which it was printed or
maintained, happens to exist as one document.”). The date, universe of authors and recipients,
and subject matter may (and, experience shows, often will) vary from email to email within a
thread, and so every communication in a thread should be logged to “accurately state how
many separate communications are included in the withheld document, and who received
which of those communications.” Davita, 301 F.R.D. at 685.

       Google’s proposal to require logging of only the most recent email in a thread would
improperly deny Plaintiffs the information needed to effectively assess and challenge privilege
claims. For example, if the last email in a thread consisted of a party simply forwarding an
email chain to counsel, logging only the last-in-time email as Google proposes would not
capture or provide any information regarding any non-privileged communications that may
have preceded that forwarding. “[T]he obvious and unavoidable byproduct of” Defendants’
proposal “would be stealth claims of privilege which, by their very nature, could never be the

                                                8
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 9 of 15




subject of a meaningful challenge by opposing counsel or actual scrutiny by a judge; this, in
turn, would render Fed.R.Civ.P. 26(b)(5) a nullity.” In re Universal Serv. Fund Tel. Billing
Pracs. Litig., 232 F.R.D. 669, 673 (D. Kan. 2005). Accordingly, the Court should adopt
Plaintiffs’ proposed language requiring logging of each withheld email.

APPENDICIES

Meta Data Fields (Appendix D).

        Google eliminated Google-Drive-specific metadata fields from the list of metadata
fields included in the Appendix, without explanation. During the meet-and-confer process,
Google represented that it expects to produce documents exported from Google Drive files.

        The Google-Drive-Specific metadata fields included in Plaintiffs’ proposed ESI
Protocol are known to be available through Google Drive, and other metadata may not be
available. Where such metadata is available, its production entails virtually no additional
burden. As the language preceding the metadata table makes clear, “[t]he parties are not
obligated to populate manually any of the[se] fields.” Google has never justified its refusal to
include these metadata fields in the ESI Protocol, and their exclusion can only serve to deprive
Plaintiffs of potentially relevant metadata that could be critical to making sense of Google’s
productions, including, for example, by searching those productions based on metadata to find
documents that key employees authored or on which they collaborated.

Presentations (Appendix H, I).

        It is Plaintiffs’ position that Presentations (e.g., Powerpoint and other) need to be
produced in native format. They are otherwise not searchable and often unreadable, with
important links being undetectable. Notably, Google’s suggested compromise that it “produce
presentations in a readable .JPEG format together with a searchable text file” adds burden and
unnecessary complexity, and risks omitting critical presenter comments and similar data.
Plaintiffs maintain that these documents must be produced in native format.

       As set forth in Sedona Principle 12: “The production of electronically stored
information should be made in the form or forms in which it is ordinarily maintained or that is
reasonably usable given the nature of the electronically stored information and the proportional
needs of the case.” See The Sedona Principles, Third Edition: Best Practices,
Recommendations & Principles for Addressing Electronic Document Production, 19 Sedona
Conf. J. 169 (2018); Comment 12.b. to the Sedona Principles makes clear that: “Ideally, the
form or forms used for production of ESI should be agreed upon early. Absent agreement, ESI
must be produced as ordinarily maintained or in a form or forms reasonably usable to the
requesting party.” Id. at 171-72 (Emphasis supplied).

      Moreover, as the Sedona Principles point out, the 2006 Advisory Committee Note to
Rule 34(b) indicates that “[i]f the responding party ordinarily maintains the information it is

                                               9
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 10 of 15




producing in a way that makes it searchable by electronic means, the information should not
be produced in a form that removes or significantly degrades this feature.” Id. at 176. In short,
Plaintiffs’ position is correct.

Linked Documents (Appendix J).

        Linked documents are critical in this matter, and the documents Google produced in
this action frequently contain links to relevant information, which are inaccessible to Plaintiffs
and missing from Google’s production. During the meet and confer process surrounding this
protocol, and in prior negotiations with the States preceding creation of this MDL, Google
informed Plaintiffs that it has an automated tool for identifying links, at least in e-mails, and
searching for and producing documents associated with those links. Thus, at least with respect
to e-mails, the burden on Google is low to provide linked documents.

        Google previously agreed to language that closely tracks the language in Plaintiffs’
proposed ESI Protocol. However, when Meta became involved in the negotiations, both parties
backtracked on Google’s prior agreement to use its automated tool. Plaintiffs propose that the
ESI Protocol include their proposed language in Appendix Section J, under which a party such
as Google, which has access to an automated tool that will locate linked documents, use that
tool, just as Google previously agreed to do months ago. Plaintiffs further request that any
receiving party may make “reasonable and proportionate requests” for linked documents
identified in any producing party’s productions, including in documents produced by Meta,
documents produced by Google that may not be capable of being searched via the automated
tool, or in documents produced by Plaintiffs, should they include links to missing, relevant
material. Google previously agreed to this provision as well.

Databases, Data Sources, Logs, and Other Structured Data (Appendix L).

        Plaintiffs’ technicians have informed that the review platform utilized by a number of
the plaintiff groups does not support Parquet, and so Plaintiffs have requested that Google
utilize other file types such as .xlms/.xls or .csv.

Password-Protected, Encrypted, or Proprietary-Software Files (Appendix T).

        Google should be required to make “reasonable efforts” to break any encryption or
password protection that would render responsive ESI unreviewable. A similar provision was
included in the ESI order in FTC v. Meta Platforms, Inc., the model order Google insisted the
parties use as a basis for negotiation. See Stipulation and Order Regarding Discovery
Procedure App’x 1, ¶ R, F.T.C. v. Meta Platforms, Inc., No. 1:20-cv-03590 (D.D.C. Mar. 8,
2022), ECF No. 108. Without explanation, however, Google removed that provision from its
initial proposed order. Plaintiffs have asked Google on multiple occasions to justify its
proposed elimination of its obligation to provide Plaintiffs with reviewable forms of responsive
ESI. Google has not done so. Google’s current proposal improperly shifts the burden to
Plaintiffs to request that Google remove encryption and password-protection and even then

                                               10
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 11 of 15




Google will break that encryption only if it is “proportionate” to do so. Google’s proposal will
cause unnecessary further delay. Forcing Plaintiffs to come to Google each time they find an
encrypted or password-protected document can be expected to lead to innumerable potential
disputes.

        Google’s proposal to require plaintiffs to show that it is “proportionate” to break
encryption or password-protection makes little sense for two reasons. First, if Google has
produced the materials to Plaintiffs, it necessarily concedes that those materials are
“proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1) (only materials proportional
to the needs of the case are discoverable). Second, and in any event, plaintiffs would have no
way to determine whether breaking encryption for a particular materials is “proportionate,”
because they will not be able to review the materials until the encryption is broken. Google
should be obligated to produce relevant and responsive ESI in a form Plaintiffs can
immediately review.

CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that the Court enter Plaintiffs’
proposed ESI protocol.


Respectfully submitted,

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                                               11
       Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 12 of 15




Submitted on behalf of all Plaintiff States

 /s/ Dena C. Sharp                             /s/ John Thorne____________________

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                                              12
     Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 13 of 15




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                                    13
     Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 14 of 15




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                                            14
      Case 1:21-md-03010-PKC Document 436 Filed 01/14/23 Page 15 of 15




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                                     15
